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                     IN THE UNITED STATES DISTRICT COURT
              IN AND FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

 JOSEPH GUILDWOLFF,
                       Plaintiff,
 v.
 DAVIS COUNTY SCHOOL DISTRICT,
 BOARD OF EDUCATON OF THE DAVIS
 SCHOOL DISTRICT, BRIANNE LAND
 ALTICE, BRYAN BOWLES, DEE                        ORDER GRANTING DEFENDANTS’
 BURTON, RICHARD FIRMAGE, KATHY                    MOTION FOR ATTORNEY FEES
 EVANS, SCOTT NIELSEN, and DOES
 1-10.
                       Defendants.                       Case No. 1:15-cv-0162
 And                                               Case No. 1:15-cv-0157 (consolidated)

 ADRIAN PEREZ-TAMAYO, GINA                                Judge Robert J. Shelby
 MUSCOLINO, and JOSE                                  Magistrate Judge Dustin B. Pead
 PEREZ-TAMAYO,
                        Plaintiffs,
 v.
 DAVIS COUNTY SCHOOL DISTRICT,
 DAVIS HIGH SCHOOL, BRIANNE LAND
 ALTICE, BRYAN BOWLES, CRAIG
 POLL, PAMELA PARK, CRAIG CARTER,
 DEE BURTON, RICHARD FIRMAGE,
 RYAN BISHOP, CATHY EVANS, DAVE
 [SCOTT] NIELSON, and DOES 1-10.

                              Defendants.
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       On November 17, 2017, this Court granted District Defendants’ Motion for Attorney Fees

(ECF No. 60). At the time the court granted that motion it instructed District Defendants to (1)

provide an affidavit demonstrating the reasonable time expended on gathering documentation

necessary for the motion, on preparing the motion, on preparing the proposed order, and any other

time relevant and necessary for the prosecute of this motion, and (2) provide sufficient information

establishing a per hour rate for the Lodestar method, along with a proposed order awarding fees in

the requested amount.

       District Defendants submitted all the required documentation on November 21, 2017.

(ECF No. 62). Plaintiffs did not object to Defendants’ submission. After reviewing District

Defendants “Memorandum of Attorney Fees,” this Court finds that Mr. Kaiser’s fee award in the

amount of $658.25 is reasonable under the Lodestar Method.

       “‘To determine a reasonable attorneys fee . . . the district court must arrive at a ‘lodestar’

figure by multiplying the hours . . . counsel reasonably spent on litigation by a reasonable hourly

rate.’” D.A. Osguthorpe Family P'ship v. ASC Utah, Inc., 576 F. App'x 759, 766 (10th Cir. 2014)

(ord. & j. not selected for publication) (quoting Jane L. v. Bangerter, 61 F.3d 1505, 1509 (10th

Cir.1995)); see also Perdue v. Kenny A. ex rel. Winn, 559 U.S. 542, 551 (2010) (referring to the

lodestar method as the “guiding light of our fee-shifting jurisprudence”); Gutwein v. Taos Cnty.

Detention Ctr., No. CV 15-672 RB/WPL, 2016 WL 9774935, at * 1 (D.N.M. Nov. 16, 2016) (not

selected for publication) (applying the Lodestar method to Rule 37 fee requests).

       In this case, the District Defendants’ attorneys logged 6.25 hours of time on the motion to

compel, proposed order, reviewing the history of communications with Plaintiffs’ counsel, and

preparing the memorandum of fees, at an hourly rate of $105.32, for a total of $658.25 in fees.



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These hours were reasonable, considering the long history and multiple attempts the District

Defendants’ counsel made to resolve the discovery disputes without Court action.

       Furthermore, this Court finds the District Defendants’ attorney’s rates of $105.32 to be

reasonable. See Trans. Alliance Bank v. Helping Hands Housing I, LLC, No. 1:13-cv-46-RJS,

2015 WL 8042058, at * 4 (D. Utah. Dec. 4, 2015) (not selected for publication) (approving of rates

up to $425 per hour for a contract dispute); Jane L. v. Bangerter, 828 F. Supp. 1544, 1551 (D.

Utah 1993) (finding that in 1993, the prevailing local rates for excellent trial counsel in civil rights

litigation ranged from $135 to $185 per hour, and rates for attorneys with less experience range

from $70 to $125 per hour) rev'd on other grounds, 61 F.3d 1505, 1510 (10th Cir. 1995) (circuit

court approving of the district court’s attorney fee rate calculation).

         Because the summary of total time billed for this matter is reasonable and because the rate

is reasonable as stated above, it is hereby ORDERED:

       District Defendants are awarded attorney fees in the amount of $658.25. These fees shall

be paid by counsel for Plaintiffs within 30 days of this Order.

       Dated this 7th day of December 2017.


                                               BY THE COURT:



                                               DUSTIN B. PEAD
                                               United States Magistrate Judge




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